USDC IN/ND case 2:01-cr-00098-JTM-APR       document 723    filed 10/06/05   page 1 of 3


                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF INDIANA
                           HAMMOND DIVISION

 UNITED STATES OF AMERICA,              )
              Plaintiff,                )
                                        )
                    v.                  )     No. 2:01 CR 98
                                        )
 TERRAUN PRICE,                         )
              Defendant.                )

       MEMORANDUM and STATEMENT ON LIMITED REMAND
                    AS TO RESENTENCING

       The Court of Appeals has ordered a limited remand in the appeal taken by

 Terraun Price pursuant to the procedure explained in United States v. Paladino, 401

 F.3d 471, 484 (7th Cir. 2005). The purpose of the limited remand is to obtain the

 undersigned’s view whether he would have given Price the same sentence—life

 in prison—had he known the United States Sentencing Guidelines (“Guidelines”)

 were advisory, not mandatory, at the time of sentencing. Id. at 483.

       As directed in Paladino, the court has asked for counsels’ input on the

 subject, by requiring them to file memoranda “addressing the issues they deem

 pertinent to re-sentencing.” Order entered August 25, 2005. The Assistant United

 States Attorney filed a memorandum which, summed up in one sentence, argues

 that given the serious nature of the crime committed and Price’s supervisory role

 in the conspiracy involved, the court’s sentence was reasonable in light of all the
USDC IN/ND case 2:01-cr-00098-JTM-APR         document 723   filed 10/06/05   page 2 of 3


 factors to be considered under 18 U.S.C. § 3553(a) and the court should not

 resentence him.

        Price argues that in the post Booker/Fanfan world, the court should calculate

 Price’s (or any defendant’s) advisory Guidelines sentence using only facts found

 by the jury beyond a reasonable doubt or admitted by the defendant. Doing so in

 Price’s case would result in an offense level 34% lower than was used to sentence

 Price. Based on Price’s life expectancy of 35 years, the court should reduce that

 sentence by 34%, and give Price a sentence no greater than 22.87 years. Thus,

 Price urges the court to inform the Court of Appeals of its desire to resentence

 him.

        Although the court finds Price’s approach to the issue of sentencing after

 Booker/Fanfan quite thoughtful, the court ultimately disagrees that an advisory

 Guidelines sentence should be calculated based solely upon admitted or jury-

 found facts. Instead, the procedure allowed by the Booker/Fanfan remedy (that is,

 the excision of 18 U.S.C. § 3553(b)(1) & 3742(e) to make the Guidelines advisory),

 is for the court to engage in factfinding to calculate a Guidelines-recommended

 sentence, but then to consider that recommendation along with the other

 sentencing purposes and factors as required by 18 U.S.C. § 3553(a) in order to

 impose a reasonable and just sentence. In other words, the calculus in Price’s or



                                          2
USDC IN/ND case 2:01-cr-00098-JTM-APR        document 723     filed 10/06/05   page 3 of 3


 any other defendant’s case does not require the court to use an “unadjusted” base

 offense level as the factor to be considered under 18 U.S.C. § 3553(a)(4)(A)(i). See

 United States v. Mykytiuk, 415 F.3d 606, 608 (7th Cir. 2005) (sentence “properly

 calculated” under the Guidelines is presumptively reasonable.)

       Reconsidering the sentence it gave Price now, in light of all the information

 it knows about Price and the crime he committed, and giving full consideration to

 all of the factors as required by 18 U.S.C. § 3553(a), the court believes that the

 sentence it imposed was reasonable and is the same sentence it would have

 imposed had it known that the Guidelines were merely advisory. Accordingly,

 the court hereby NOTIFIES the Court of Appeals that it would reimpose the

 same sentence on remand.



              ENTER: October 6, 2005




                                          s/James T. Moody
                                         JUDGE JAMES T. MOODY
                                         UNITED STATES DISTRICT COURT
